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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF LOUISIANA

    ALEX A., by and through his guardian,                )
    Molly Smith; BRIAN B.; and CHARLES C.,               )
    by and through his guardian, Kenione                 )
    Rogers, individually and on behalf of all            )
    others similarly situated,                           )
                                                         )
           Plaintiffs,                                   )
                                                         )
    v.                                                   )   Civ. A. No. 3:22-CV-00573-SDD-RLB
                                                         )
    GOVERNOR JOHN BEL EDWARDS, in                        )
    his official capacity as Governor of                 )   DEFENDANTS’ MEMORANDUM IN
    Louisiana; WILLIAM SOMMERS, in his                   )   SUPPORT OF THEIR RULE 12(b)(1)
    official capacity as Deputy Secretary of the         )   MOTION TO DISMISS
    Office of Juvenile Justice, JAMES M.                 )
    LEBLANC, in his official capacity as                 )
    Secretary of the Louisiana Department of             )
    Public Safety & Corrections,                         )
                                                         )
           Defendants.                                   )

          NOW INTO COURT, through undersigned counsel, come Defendants Jeff Landry, in his

official capacity as Governor of Louisiana; Kenneth “Kenny” Loftin, in his official capacity as

Deputy Secretary of the Office of Juvenile Justice (“OJJ”); and James M. LeBlanc, in his official

capacity as Secretary of the Louisiana Department of Public Safety & Corrections (“DOC”)

(collectively “Defendants”), 1 and pursuant to Federal Rule of Civil Procedure 12(b)(1),




1
 Since the filing of this lawsuit, the State of Louisiana elected a new governor, Jeff Landry. Because former Gov.
Edwards was initially sued in his official capacity, Gov. Landry is automatically substituted as a defendant. Fed. R.
Civ. P. 25(d).

Relatedly, on November 18, 2022, then-Gov. Edwards announced the resignation of initially-named Defendant
Deputy Secretary Sommers and the appointment of Otha “Curtis” Nelson, Jr. as his replacement.
https://gov.louisiana.gov/index.cfm/newsroom/detail/3892. Because Mr. Sommers was initially sued in his official
capacity, Mr. Nelson was then automatically substituted as a Defendant. Subsequently, on February 2, 2024, Gov.
Landry announced that Kenneth “Kenny” Loftin had been appointed as the Deputy Secretary of OJJ.
https://gov.louisiana.gov/index.cfm/newsroom/detail/4402. Therefore, Mr. Loftin is now automatically substituted as
a Defendant. Fed. R. Civ. P. 25(d).
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respectfully request that the Court dismiss this lawsuit for lack of subject matter jurisdiction due

to mootness.

                                       INTRODUCTION

       At its heart, this case has been about OJJ’s establishment of a temporary juvenile secure

care facility on the campus of the Louisiana State Penitentiary (“LSP”): the Bridge City Center

for Youth at West Feliciana (“BCCY-WF”). As Defendants made clear since before the inception

of this litigation, BCCY-WF was always intended to be a temporary solution to an immediate

safety and security danger—a danger to the youth in OJJ’s custody, to the OJJ staff, and to the

public at-large. OJJ’s then-existing secure care facilities lacked the physical requirements

necessary to safely and securely house a certain population of the youth in OJJ’s custody. At the

time when the creation of BCCY-WF was announced, OJJ was already in the process of

constructing a new facility at the Swanson Center for Youth in Monroe (“SCY-Monroe”) that met

physical requirements and renovating an existing unit a SCY-Monroe (the Cypress Unit) that met

the physical requirements needed to house these youth. Until the construction and renovations

were completed, OJJ needed to find an existing location that met the physical requirements

necessary to safely and securely house these youth.

       The reception center at Angola—the building that was developed into BCCY-WF—had

the necessary physical requirements. It was unoccupied and available, with minimum renovations,

it could safely and securely house these youth.

       The renovations to the Cypress Unit at SCY-Monroe are complete, and the unit is already

housing youth. The construction of the new facility at SCY-Monroe is essentially complete, and

the new facility is scheduled to open soon, pending final inspections and outfitting with furniture.




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       Just as the emergency that precipitated the need for BCCY-WF has ended, so too should

this case. This case is moot and due to be dismissed because it no longer presents a case or

controversy under Article III of the Constitution. Specifically, no youth faces the possibility of

being housed at BCCY-WF or a transitional treatment unit (“TTU”) at an “adult prison” for the

following reasons:

   •   OJJ transferred all youth out of BCCY-WF;

   •   OJJ has opened its newly-renovated Cypress Unit and will soon open its newly-constructed
       facility at SCY-Monroe, thus obviating the prior, temporary need to house secure care
       youth at BCCY-WF;

   •   After OJJ closed BCCY-WF, DOC used the facility to house adult offenders;

   •   DOC intends to use the reception center at LSP (i.e., the former site of BCCY-WF) only to
       house adult offenders (not juveniles);

   •   Since the closure of BCCY-WF, OJJ has had no TTU and currently does not operate a TTU
       at any facility;

   •   The juvenile facility at which some youth are housed at the Jackson Parish Jail (“Jackson
       Parish”) is not (and never has been) a TTU;

   •   OJJ will soon establish its TTU at the Cypress Unit at SCY-Monroe (a youth facility); and


              FACTUAL BACKGROUND AND RECENT DEVELOPMENTS

       In July 2022, then-Governor Edwards announced plans to open a temporary secure care

facility for the housing of youth in OJJ custody while OJJ completed construction of a new facility.

That temporary secure care facility was to be located on the grounds of LSP and came to be known

as BCCY-WF.

       Plaintiffs initially filed this lawsuit in August 2022 attempting to prevent OJJ from opening

and operating the temporary secure care facility and TTU on the LSP campus. (Doc. 1). Plaintiffs

allege that detention at “the OJJ site at Angola” posed a risk of harm. (Doc. 96). Plaintiffs



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specifically request a declaratory judgment that Defendants are violating Plaintiffs’ constitutional

rights by transferring them to “the OJJ site at Angola” where they will not receive rehabilitative

services; and an injunction requiring Defendants to cease plans to transfer Plaintiffs to “the OJJ

site at Angola” and to immediately transfer any youth housed there back to one of OJJ’s secure

care facilities. (Doc. 96 at 39). Plaintiffs’ request for relief is limited to BCCY-WF, and they make

no reference to any other “adult prison.” (Doc. 96 at 39).

       Following an evidentiary hearing, the Court denied Plaintiffs’ First Motion for Preliminary

Injunction. (Doc. 79). BCCY-WF opened in October 2022. BCCY-WF operated as a temporary

TTU, which is a program that provides intensified, targeted rehabilitative services and therapies to

assist youth who are not responding to OJJ’s standard programming. See Testimony of Lee

Anthony Underwood, Preliminary Injunction Day 4, at 70:10-24. The program is broken up into

three phases that occur over several weeks. Id. at 95:3-97:17. The goal is to provide high-risk youth

with new skills so that they are able to re-integrate into OJJ secure care facilities. Id. at 70:15-24.

       In July 2023, Plaintiffs filed a Second Motion for Preliminary Injunction. (Doc. 163). In

August 2023, the Court issued a Ruling certifying a class. (Doc. 243). Following an evidentiary

hearing, the Court granted Plaintiffs’ Second Motion, enjoining OJJ from housing youth at BCCY-

WF and ordering OJJ to remove all youth from BCCY-WF. (Doc. 267 at 20). Defendants appealed

those orders. (Doc. 259).

       On September 13, 2023, the Fifth Circuit entered an order staying the Court’s Preliminary

Injunction. (Doc. 268). Despite the stay and being under no legal obligation to do so, on September

15, 2023, OJJ elected to transfer all youth from BCCY-WF to the juvenile unit of the newly-opened

Jackson Parish facility. (Doc. 278 at 3). On October 5, 2023, the Fifth Circuit dissolved the stay.

(Doc. 291 at 2).



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        OJJ currently has no plans to reopen BCCY-WF for housing youth in OJJ custody. See

Declaration of Kenneth Loftin (“Loftin Dec.”), attached hereto as Ex. A, at ¶ 5. OJJ has been

working to complete construction and renovation work at SCY-Monroe. The renovation of the

Cypress Unit at SCY-Monroe is complete, and some youth are being housed there now. The newly-

constructed facility at SCY-Monroe is expected to be fully open and operational in the spring of

2024. See id. at ¶ 11. The completion of construction and renovations at SCY-Monroe obviates the

need for housing youth at BCCY-WF.

        In early December 2023, DOC transferred adult women offenders to the reception center

at LSP that previously was occupied by BCCY-WF (the “Reception Center”) and temporarily used

the Reception Center to house these adult women offenders. 2 For the foreseeable future, DOC

intends to house only adult inmates at the Reception Center. See Declaration of James Leblanc,

attached hereto as Ex. B, at ¶ 5.

        When BCCY-WF closed, OJJ did not establish another TTU elsewhere and currently does

not operate a TTU at any facility. See Loftin Dec. (Ex. A) at ¶¶ 13, 14. The Jackson Parish juvenile

unit is not a TTU. Id. at ¶¶ 8, 15. OJJ’s TTU will soon be located at the newly-renovated Cypress

Unit at SCY-Monroe. Id. at ¶ 12.

                                        LAW AND ARGUMENT

I.      The Court lacks subject matter jurisdiction because the case is moot.

        Federal Rule of Civil Procedure 12(b)(1) allows defendants to assert by motion a lack of

subject matter jurisdiction. A determination that the court lacks subject matter jurisdiction may be

made “at any time.” Fed. R. Civ. P. 12(h)(3). The doctrine of mootness is a jurisdictional issue.

Brindson v. McAllen Indep. Sch. Dist., 863 F.3d 338, 345 (5th Cir. 2017).


2
   See https://lailluminator.com/2023/12/09/louisiana-teens-convicted-as-adults-force-transfer-of-women-prisoners-
to-all-male-angola/ (Dec. 9, 2023).

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        Article III of the Constitution limits federal court jurisdiction to “cases” and

“controversies.” U.S. Const. art. III, § 2. This case or controversy requirement subsists through all

stages of review, not only at the time the complaint is filed. Spencer v. Kemna, 523 U.S. 1, 7

(1998); see also Steffel v. Thompson, 415 U.S. 452, 459 n.10 (1974). A matter becomes moot if it

“no longer present[s] a case or controversy under Article III, § 2 of the Constitution.” Spencer,

523 U.S. at 7. To satisfy the case or controversy requirement of Article III, a “plaintiff must show

that he has sustained or is immediately in danger of sustaining some direct injury as the result of

the challenged official conduct and the injury or threat of injury must be both real and immediate,

not conjectural or hypothetical.” City of L.A. v. Lyons, 461 U.S. 95, 101-02 (1983) (internal

quotation marks and citations omitted).

        Here, no case or controversy exists because no youth faces the possibility of a transfer to

BCCY-WF. This matter is moot, and the Court should dismiss this lawsuit.

II.     No youth faces the possibility of a transfer to BCCY-WF.

        A. OJJ closed BCCY-WF and currently has no plans to reopen it for housing youth.
           OJJ’s newly-renovated SCY-Monroe facility is partially open, and OJJ’s newly-
           constructed SCY-Monroe facility is near completion.

        Plaintiffs cannot show that they have sustained or are immediately in danger of sustaining

a direct injury, as required by Article III, because the relief they requested—closure of the

temporary secure care facility on the LSP campus—has already occurred. See Lyons, 461 U.S. at

102. It is “beyond dispute that a request for injunctive relief generally becomes moot upon the

happening of the event sought to be enjoined.” Harris v. City of Hous., 151 F.3d 186, 189 (5th

Cir. 1998). 3 Plaintiffs specifically requested relief in the form of an injunction “requiring



3
 Plaintiffs agree that it is “‘beyond dispute that a request for injunctive relief generally becomes moot upon the
happening of the event sought to be enjoined’” and argued same on appeal. See Answering Brief of Plaintiffs-
Appellees, Doc. 156-1 (Ex. C) at 30 (quoting Harris, 151 F.3d at 189).

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Defendants to cease plans to transfer Plaintiffs and class members to the OJJ site at Angola, and

to immediately . . . transfer Plaintiffs and any class members who have already been moved to the

OJJ site at Angola back to one of OJJ’s pre-existing secure care or other facilities.” (Doc. 96 at

39). Plaintiffs’ requests for declaratory and injunctive relief are moot.

       On September 15, 2023, OJJ transferred all youth from BCCY-WF. Deputy Secretary

Loftin confirmed that OJJ currently has no plans to reopen BCCY-WF for housing youth in OJJ

custody. See Loftin Dec. (Ex. A) at ¶ 5.

       The original need to open BCCY-WF arose in mid-2022 when high-risk youth caused

substantial property destruction across multiple OJJ secure care facilities, rendering several

facilities uninhabitable and leaving OJJ with no secure location to house these youth. (Doc. 79 at

¶¶ 17-29). Since then, OJJ has been working to complete construction and renovation work on

other campuses to ensure secure facilities are available. Id. at ¶ 30. SCY-Monroe is one such

facility where renovations have been underway. Construction at SCY-Monroe is near completion,

and the facility is expected to be fully open and operational soon. See Loftin Dec. (Ex. A) at ¶ 11.

In fact, one renovated building on the SCY-Monroe campus, the Cypress Unit, is already open and

housing youth. Id. at ¶ 12.

       BCCY-WF is closed, and OJJ has no plans to reopen it for youth housing. The completion

and opening of SCY-Monroe obviates the need for housing youth at BCCY-WF. The actions

demanded by Plaintiffs—ceasing plans to transfer youth to BCCY-WF and removing all youth

from the facility—have now occurred, rendering their request for injunctive relief moot.

       B. BCCY-WF is not available to house youth because DOC has been using, and intends
          to use, that facility for adult-only housing.

       To demonstrate that a case or controversy exists, Plaintiffs must show that they are

immediately in danger of sustaining a direct injury and that the threat of injury is both real and

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immediate, not conjectural or hypothetical. See Lyons, 461 U.S. at 102. As discussed above,

Plaintiffs cannot show that any immediate danger exists because BCCY-WF is closed and OJJ has

no plans to reopen it. But any perceived risk of transfer is also neither real nor immediate.

        In early December 2023, DOC transferred eighteen adult women offenders to the Angola

Reception Center, which was previously the site of BCCY-WF. 4 Since that time, OJJ could not

have reopened BCCY-WF, even if OJJ had planned to do so. While the placement of these adult

women offenders at LSP was temporary, 5 DOC Secretary James Leblanc confirmed that, for the

foreseeable future, DOC intends to house only adult inmates at the Reception Center. See Leblanc

Dec. (Ex. B) at ¶ 5.

        As such, the Reception Center that OJJ previously utilized for BCCY-WF is not available

for OJJ youth housing, and OJJ has no plans to utilize the facility for that purpose. “[A]ny

suggestion of relief based on the possibility of transfer back to [BCCY-WF] is too speculative to

warrant relief.” Herman v. Holiday, 238 F.3d 660, 665 (5th Cir. 2001). There is no youth in OJJ

custody who may be transferred to BCCY-WF, and any notion that the threat of transfer remains

is nothing more than conjecture by Plaintiffs.

III.    No youth face the possibility of a future transfer to a TTU at an “adult prison.”

        A. OJJ currently has no TTU.

        At the outset, Plaintiffs should be foreclosed from arguing that the risk of transfer to a TTU

at an “adult prison” is a threat of injury that satisfies the Article III case or controversy requirement.

The operative complaint, the First Amended Complaint for Injunctive and Declaratory Relief–

Class Action (the “Amended Complaint”), specifically requests relief related to “the OJJ site at



4
   See https://lailluminator.com/2023/12/09/louisiana-teens-convicted-as-adults-force-transfer-of-women-prisoners-
to-all-male-angola/ (Dec. 9, 2023).
5
  Id.

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Angola” (Doc. 96 at 39). It does not pray for any relief related to a facility other than “the OJJ site

at Angola.” (Doc. 96 at 39). Moreover, Plaintiffs reference a TTU only once, and that is in relation

to the OJJ facility at St. Martinville (Doc. 96 at 25). Plaintiffs should not be permitted to expand

their pleadings simply because the original relief they requested—closure of BCCY-WF—is now

moot.

         Despite the fact that the Amended Complaint is specifically limited to claims about BCCY-

WF, the Court, in granting Plaintiffs’ Motion for Class Certification, tacitly adopted Plaintiffs’

proposed class definition, which was broader than the claims in the Amended Complaint.

Specifically, Plaintiffs asked the Court to certify a class that included: “[A]ll youth who are now

or will be in the custody of OJJ who have been, might be, or will be transferred to the OJJ site (the

‘Transitional Treatment Unit’ or ‘TTU’) at Angola or another adult prison. . . .” (Doc. 243 at 8).

Plaintiffs cannot expand the scope of the Amended Complaint merely by suggesting an overbroad

class.

         Regardless, Plaintiffs’ claims with respect to risk of transfer to a TTU at an “adult prison”

are also moot. The Fifth Circuit has repeatedly held that transfer to another prison renders moot

claims for declaratory and injunctive relief relating to conditions of confinement that are specific

to that prison. See, e.g., Herman, 238 F.3d at 665 (claims for injunctive and declaratory relief due

to asbestos exposure were mooted by transfer to another prison); Cooper v. Sheriff, Lubbock Cnty.,

929 F.2d 1078, 1084 (5th Cir. 1991) (claims for injunctive relief due to denial of food at previous

jail were moot); Beck v. Lynaugh, 842 F.2d 759, 762 (5th Cir. 1988) (claims for injunctive relief

were mooted by transfer from “retrieve unit” of prison); see also Pitre v. David Wade Corr. Ctr.,

No. 06-1802, 2008 WL 466160, at *3 (W.D. La. Feb. 14, 2008) (claims for declaratory and

injunctive relief were mooted by transfer to another prison).



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        OJJ voluntarily removed youth from BCCY-WF in September 2023 and transferred those

youth to a juvenile unit at Jackson Parish. See Doc. 314 at 3. Since the closure of BCCY-WF, OJJ

has not had a TTU at any other facility, adult or otherwise. See Loftin Dec. (Ex. A) at ¶ 14. Instead,

OJJ is working to establish its TTU at the newly-renovated Cypress Unit at SCY-Monroe (a youth

facility). Id. at ¶ 12. While a portion of the Cypress Unit is already open and some youth are already

housed there at this time, the TTU is not yet operational. Id. OJJ is in the process of training staff

on TTU programming and otherwise preparing the Cypress Unit to operate as a TTU. Id.

        Jackson Parish is not, and never has been, a TTU. See id. at ¶ 15. This Court acknowledged

that the conditions of confinement at Jackson Parish are not relevant to the current lawsuit. (Doc.

314 at 12 (citing Doc. 298 at 8)). Because BCCY-WF is closed with no plans to reopen and Jackson

Parish is not a TTU, the transfer of youth to Jackson Parish rendered moot Plaintiffs’ claims for

declaratory and injunctive relief. No youth faces the possibility of being housed in a TTU at an

adult prison because no TTU currently exists.

        B. Jackson Parish is not an “adult prison.”

        Plaintiffs cannot show that they are immediately in danger of sustaining a direct injury and

that the threat of injury is both real and immediate, as there is no risk of transfer to a TTU at an

“adult prison.” See Lyons, 461 U.S. at 102. The ruling granting Plaintiffs’ Motion for Class

Certification defined the class as “all youth who are now or will be in the custody of OJJ who have

been, might be, or will be transferred to the OJJ site (the ‘Transitional Treatment Unit’ or ‘TTU’)

at Angola or another adult prison.” See Doc. 243 at 8. While Plaintiffs continue to refer to Jackson

Parish as an “adult prison,” the Court has expressly declined to make that determination. (Doc.

314 at 3, n.4).




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       Jackson Parish is what federal law refers to as a “collocated facility,” a correctional facility

that separately houses youth and adults in the same building or complex. See Loftin Dec. (Ex. A)

at ¶¶ 7-8 (citing 34 U.S.C. § 11103). Even if Jackson Parish was an “adult prison” (and it is not),

it is still not a TTU. Id. at ¶¶ 8, 15. As evidenced by the declaration of Deputy Secretary Loftin,

OJJ has no current plans to house youth at any other collocated facility and no current plans to

house youth at any other facility designed to house adult prisoners. Id. at ¶¶ 5-6, 10. Thus, no youth

face the possibility of a transfer to a TTU at an “adult prison.” Any claims regarding risk of transfer

to a TTU at an “adult prison” are moot.

                                          CONCLUSION

       This matter is moot because it no longer presents a case or controversy under Article III of

the Constitution. Specifically, no youth face the possibility of transfer to BCCY-WF or to a TTU

at an adult prison. OJJ closed BCCY-WF and currently has no plans to reopen it for housing youth.

The newly-renovated Cypress Unit is open and the newly-constructed SCY-Monroe facility will

soon open, obviating the need to house youth at BCCY-WF. Further, BCCY-WF is not available

to house youth because DOC intends to use that facility for adult housing only. OJJ currently has

no TTU, and Jackson Parish is neither a TTU nor an “adult prison”—let alone a TTU at an “adult

prison.”

       Plaintiffs’ requests for declaratory and injunctive relief are now moot, and the Court should

dismiss this lawsuit for lack of subject matter jurisdiction due to mootness.

       Dated: February 23, 2024.

                                               Respectfully submitted:

                                                BY:    /s/ Madaline King Rabalais
                                                       Connell Archey (#20086)
                                                       Randal J. Robert (#21840)
                                                       Allena McCain (#38830)

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                                                      Counsel for Defendants


                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has this day been filed electronically
with the Clerk of Court using the CM/ECF system, which will deliver notice of this filing to all
counsel of record.

        This 23rd day of February, 2024.

                                                       /s/ Madaline King Rabalais
86093335.v2




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